Case 3:19-bk-30822 Doc 101-3 Filed 09/13/19 Entered 09/13/19 14:42:13 Desc
  Exhibit - 3 - 8/19/19 Stern Email to Remaining Petitioning Creditors Page 1 of 3
Case 3:19-bk-30822 Doc 101-3 Filed 09/13/19 Entered 09/13/19 14:42:13 Desc
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Case 3:19-bk-30822 Doc 101-3 Filed 09/13/19 Entered 09/13/19 14:42:13 Desc
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